UNITED STATES DISTRICT CGRRDEC ~1 PH: 16

DISTRICT OF VERMONT Ate

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UNITED STATES OF AMERICA Y

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Vv. : Criminal No. 5:21-cr-75-1

GEORGE CASEY,
Defendant

SECOND SUPERSEDING INDICTMENT
The Grand Jury charges:
COUNT ONE
On or about July 5, 2020, in the District of Vermont, the defendant, GEORGE CASEY,
did employ, use, persuade, induce, entice, and coerce any minor (Jane Doe #1) to engage in
sexually explicit conduct for the purpose of producing any visual depiction of such conduct,
namely video files V00705-142608.mp4, V00705-154708.mp4, V00705-155453.mp4, and
V00705-145016.mp4, and which visual depictions were produced using materials that have been
mailed, shipped, and transported in and affecting interstate and foreign commerce by any means.

(18 U.S.C. §§ 2251(a), 2251(e))
COUNT TWO
On or about July 5, 2020, in the District of Vermont, the defendant, GEORGE CASEY,
did employ, use, persuade, induce, entice, and coerce any minor (Jane Doe #2) to engage in
sexually explicit conduct for the purpose of producing any visual depiction of such conduct,
namely video files V00705-154708.mp4, V00705-155453.mp4, and V00705-145016.mp4, and
which visual depictions were produced using materials that have been mailed, shipped, and
transported in and affecting interstate and foreign commerce by any means.

(18 U.S.C. §§ 2251 (a), 2251(e))
COUNT THREE
On or about July 9, 2020, in the District of Vermont, the defendant, GEORGE CASEY,
did employ, use, persuade, induce, entice, and coerce any minor (Jane Doe #1) to engage in
sexually explicit conduct for the purpose of producing any visual depiction of such conduct,
namely video file V00709-123838.mp4, and which visual depiction was produced using
materials that have been mailed, shipped, and transported in and affecting interstate and foreign

commerce by any means.

(18 ULS.C. §§ 2251 (a), 2251(e))
COUNT FOUR
On or about July 9, 2020, in the District of Vermont, the defendant, GEORGE CASEY,
did employ, use, persuade, induce, entice, and coerce any minor (Jane Doe #2) to engage in
sexually explicit conduct for the purpose of producing any visual depiction of such conduct,
namely video file V00709-123838.mp4, and which visual depiction was produced using
materials that have been mailed, shipped, and transported in and affecting interstate and foreign

commerce by any means,

(18 U.S.C. §§ 2251 (a), 2251(e))
COUNT FIVE

On or about March 11, 2021, in the District of Vermont, the defendant, GEORGE
CASEY, knowingly possessed at least one matter which contained any visual depiction that was
produced using materials which had been mailed and shipped and transported using any means
and facility of interstate and foreign commerce, including by computer, the production of such
visual depiction involved the use of a minor engaging in sexually explicit conduct, and such
visual depiction was of such conduct.

At least one of the visual depictions involved in the offense involved a prepubescent

minor or a minor who had not attained 12 years of age.

(18 U.S.C. §§ 2252(a)(4)(B), (b)(2))
COUNT SIX
On or about May 18, 2021, in the District of Vermont, the defendant, GEORGE CASEY,
knowingly accessed with intent to view at least one matter which contained any visual depiction
that was produced using materials which had been mailed and shipped and transported using any
means and facility of interstate and foreign commerce, including by computer, the production of
such visual depiction involved the use of a minor engaging in sexually explicit conduct, and such

visual depiction was of such conduct.

(18 U.S.C. §§ 2252(a)(4)(B), (b)(2))
COUNT SEVEN

On or about June 2, 2021, in the District of Vermont, the defendant, GEORGE CASEY,
knowingly accessed with intent to view at least one matter which contained any visual depiction
that was produced using materials which had been mailed and shipped and transported using any
means and facility of interstate and foreign commerce, including by computer, the production of
such visual depiction involved the use of a minor engaging in sexually explicit conduct, and such
visual depiction was of such conduct.

At least one of the visual depictions involved in the offense involved a prepubescent
minor or a minor who had not attained 12 years of age.

(18 U.S.C. §§ 2252(a)(4)(B), (b)(2))
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Nts, ?. uae ___ (BAM)
NIKOLAS P. KEREST
United States Attorney

Burlington, Vermont
December 1, 2022
